Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 1 of 6   PageID #: 719



                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


  GRAHAM T. CHELIUS, M.D, ON              CIV. NO. 17-00493 JAO-RT
  BEHALF OF HIMSELF AND HIS
  PATIENTS; SOCIETY OF FAMILY
  PLANNING, ON BEHALF OF ITS
  MEMBERS AND THEIR PATIENTS;             RULE 16 SCHEDULING ORDER
  CALIFORNIA ACADEMY OF FAMILY
  PHYSICIANS, ON BEHALF OF ITS
  MEMBERS AND THEIR PATIENTS;
  AND PHARMACISTS PLANNING
  SERVICES INC., ON BEHALF OF ITS
  MEMBERS AND THEIR PATIENTS;

                   Plaintiffs,

        vs.

  UNITED STATES FOOD AND DRUG
  ADMINISTRATION, SCOTT
  GOTTLIEB, M.D., IN HIS OFFICIAL
  CAPACITY AS COMMISSIONER OF
  FOOD AND DRUGS, AND HIS
  EMPLOYEES, AGENTS AND
  SUCCESSORS IN OFFICE; AND ALEX
  M. AZAR, J.D., IN HIS OFFICIAL
  CAPACITY AS SECRETARY, U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES (SUBSTITUTED
  FOR DON J. WRIGHT, M.D., M.P.H.,
  ACTING SECRETARY OF THE U.S.
  DEPARTMTENT OF HEALTH AND
  HUMAN SERVICES, PURSUANT TO
  FRCP 25(D));

                   Defendants.


                        RULE 16 SCHEDULING ORDER
Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 2 of 6                PageID #: 720



       Pursuant to Fed. R. Civ. P. 16 and LR 16.2, a scheduling conference was held on

 April 10, 2019, before the Honorable Rom A. Trader, United States Magistrate Judge.

 Appearing at the conference were Mateo Caballero, Susan Talcott Camp (by phone) and

 Julia Kaye (by phone) on behalf of Plaintiffs, and Mary M. Englehart on behalf of

 Defendants.

       Pursuant to Fed. R. Civ. P. 16(e) and LR 16.3, the Court enters this scheduling

 conference order:

 TRIAL AND PRETRIAL CONFERENCE SCHEDULING:

 1.    NON-JURY trial in this matter will commence before the Honorable Jill A.

 Otake, United States District Judge on April 13, 2020 (Monday), at 9:00 a.m.

 2.    A final pretrial conference shall be held on March 3, 2020, at 9:00 a.m. before the

 Honorable Rom A. Trader, United States Magistrate Judge.

 3.     (RESERVED)

 4.    Pursuant to LR 16.6, each party herein shall serve and file a separate final pretrial

 statement by February 25, 2020.

 MOTIONS:

 5.    All motions to join additional parties or to amend the pleadings shall be filed by

 September 13, 2019.

 6.    Other non-dispositive motions, except for motions in limine and discovery

 motions, shall be filed by January 15, 2020.

 7.    Dispositive motions shall be filed by November 13, 2019.




                                                2
Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 3 of 6                PageID #: 721



 8.     Motions in limine shall be filed by March 24, 2020.

 Any opposition memorandum to a motion in limine shall be filed by March 31, 2020.

 DISCOVERY:

 9.     Unless and until otherwise ordered by the Court, the parties shall follow the

 discovery plan agreed to by the parties herein pursuant to Fed. R. Civ. P. 26(f).

 10.    (RESERVED)

 11.    Pursuant to Fed. R. Civ. P. 26(a)(2), each party shall disclose to each other party

 the identity and written report of any person who may be used at trial to present expert

 evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. The disclosures

 pursuant to this paragraph shall be according to the following schedule:

        a.     All plaintiffs shall comply by October 15, 2019.

        b.     All defendants shall comply by November 13, 2019.

 Disclosure of the identity and written report of any person who may be called solely to

 contradict or rebut the evidence of a witness identified by another party pursuant to

 subparagraphs a and b hereinabove shall occur within thirty (30) days after the disclosure

 by the other party.

 12.    Pursuant to Fed. R. Civ. P. 16(b)(3) and LR 16.2(a)(6), the discovery deadline

 shall be February 14, 2020. Unless otherwise permitted by the Court, all discovery

 pursuant to Federal Rules of Civil Procedure, Rules 26 through 37 inclusive must be

 completed by the discovery deadline. Unless otherwise permitted by the Court, all

 discovery motions and conferences made or requested pursuant to Federal Rules of Civil




                                              3
Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 4 of 6                   PageID #: 722



 Procedure, Rules 26 through 37 inclusive and LR 26.1, 26.2 37.1 shall be heard no later

 than thirty (30) days prior to the discovery deadline.

 SETTLEMENT:

 13.    A settlement conference shall be held on January 14, 2020, at 10:00 a.m. before

 the Honorable Rom A. Trader, United States Magistrate Judge.

 14.    Each party shall deliver to the presiding Magistrate Judge a confidential settlement

 conference statement by January 7, 2020. The parties are directed to LR 16.5(b) for the

 requirements of the confidential settlement conference statement.

 15.    The parties shall exchange written settlement offers and meet and confer to discuss

 settlement before the date on which settlement conference statements are due.

 TRIAL SUBMISSIONS:

 16.    (RESERVED)

 17.    (RESERVED)

 18.    (RESERVED)

 19.    (RESERVED)

 20.    (RESERVED)

        WITNESSES:

 21.    By March 24, 2020, each party shall serve and file a final comprehensive witness

 list indicating the identity of each witness that the party will call at trial and describing

 concisely the substance of the testimony to be given and the estimated time required for

 the testimony of the witness on direct examination.




                                                4
Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 5 of 6                    PageID #: 723



 22.      The parties shall make arrangements to schedule the attendance of witnesses at

 trial so that the case can proceed with all due expedition and without any unnecessary

 delay.

 23.      The party presenting evidence at trial shall give notice to the other party the day

 before of the names of the witnesses who will be called to testify the next day and the

 order in which the witnesses will be called.

          EXHIBITS:

 24.      By March 17, 2020, the parties shall premark for identification all exhibits and

 shall exchange or, when appropriate, make available for inspection all exhibits to be

 offered, other than for impeachment or rebuttal, and all demonstrative aids to be used at

 trial.

 25.      The parties shall meet and confer regarding possible stipulations to the

 authenticity and admissibility of proposed exhibits by March 24, 2020.

 26.      By March 31, 2020 the parties shall file any objections to the admissibility of

 exhibits. Copies of any exhibits to which objections are made shall be attached to the

 objections.

 27.      The original set of exhibits and two copies (all in binders) and a list of all exhibits

 shall be submitted to the Court the Thursday before trial.

          DEPOSITIONS:

 28a.     By March 24, 2020, the parties shall serve and file statements designating excerpts

 from depositions (specifying the witness and page and line referred to) to be used at trial

 other than for impeachment or rebuttal.


                                                 5
Case 1:17-cv-00493-JAO-RT Document 54 Filed 04/11/19 Page 6 of 6                                   PageID #: 724



   b.    Statements counter-designating other portions of depositions or any objections to

 the use of depositions shall be served and filed by March 31, 2020.

         TRIAL BRIEFS:

 29.     By March 31, 2020, each party shall serve and file a trial brief on all significant

 disputed issues of law, including foreseeable procedural and evidentiary issues, setting

 forth briefly the party's position and the supporting arguments and authorities.

         PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW:

 30.     Each party shall serve and file proposed findings of fact and conclusions of law by

 March 31, 2020.

 OTHER MATTERS:

 None

         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, April 10, 2019.




                                                    /s/ Rom A. Trader
                                                    Rom A. Trader
                                                    United States Magistrate Judge




 Graham T. Chelius, M.D, on Behalf of Himself and His Patients; Society of Family Planning, on Behalf of its
 Members and Their Patients; California Academy of Family Physicians, on Behalf of its Members and Their
 Patients; and Pharmacists Planning Services Inc., on Behalf of its Members and Their Patients vs. United States
 Food and Drug Administration, Scott Gottlieb, M.d., in His Official Capacity as Commissioner of Food and Drugs,
 and His Employees, Agents and Successors in Office; and Alex M. Azar, J.D., in His Official Capacity as Secretary,
 U.S. Department of Health and Human Services (substituted for Don J. Wright, M.D., M.P.H., Acting Secretary of
 The U.S. Department of Health and Human Services, Pursuant To FRCP 25(d)); Civ. No. 17-00493 JAO-RT; Rule
 16 Scheduling Order



                                                         6
